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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ALABAMA ASSOCIATION OF
 REALTORS, et al.,
                                                       No. 20-cv-3377 (DLF)
     Plaintiffs,

         v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

     Defendants.


                                      NOTICE OF APPEAL

        PLEASE TAKE NOTICE that all Defendants (United States Department of Health and

Human Services; Xavier Becerra, in his official capacity as Secretary of Health and Human Services;

United States Department of Justice; Merrick B. Garland, in his official capacity as Attorney General;

Centers for Disease Control; Rochelle P. Walensky, in her official capacity as Director, Centers for

Disease Control and Prevention; and Sherri A. Berger, in her official capacity as Acting Chief of Staff

for Centers for Disease Control and Prevention), hereby appeal to the United States Court of Appeals

for the District of Columbia Circuit from this Court’s Order of May 5, 2021, along with its

Memorandum Opinion of May 5, 2021.


Dated: May 5, 2021                                     Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Acting Assistant Attorney General

                                                       ERIC BECKENHAUER
                                                       Assistant Director, Federal Programs Branch

                                                       /s/ Leslie Cooper Vigen
                                                       LESLIE COOPER VIGEN
                                                       Trial Attorney (DC Bar No. 1019782)
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